                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )
                                              )
vs.                                           )      Case No. 94-00194-12-CR-W-GAF
                                              )
KEVEN L WYRICK,                               )
also known as Kevin L Wyrick,                 )
                                              )
                        Defendant.            )

                                             ORDER

          Now before the Court is defendant’s pro se Motion (Doc. 1143) requesting an extension of

time in which to file a reply to his pro se Motion to Reduce Sentence (Doc. 1133). Defendant’s pro

se Motion to Reduce Sentence (Doc. 1133) has already been denied and found to be without merit.

Accordingly, it is

          ORDERED that defendant’s pro se Motion (Doc. 1143) requesting an extension of time is

denied.

                                                     s/ Gary A. Fenner
                                                     GARY A. FENNER, JUDGE
                                                     UNITED STATES DISTRICT COURT

DATED: February 23, 2024




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